                 Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 1 of 39



 AO l 06 (Rev. 06/09) Application for a Search Warrant


                                        UNITED STATES DISTRICT COU
                                                                         for the
                                                             Eastern District of Virginia

               In the Matter of the Search of            I
          (Briefly describe the property to be searched
           or taentifY the person by name and address)                                Case No.1: 15-SW-89
                OF COMPUTERS THAT ACCESS
                    upf45jv3bziuctml.onion
                                                                                                UNDER SEAL
                                              APPLICATION FOR A SEARCH WARRANT
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of peljury that I have reason to believe that on the following person or property (identifY the person or describe the
f2!operty to be searched and give its location):
::>ee Attachment A

located in the                Eastern              District of                 Virginia             , there is now concealed (IdentifY the
                    ------~------                                ----------~~--------
!]!!rson or describe the property to be seized):
::>ee Attachment B


           The basis for the search under Fed. R. Crim. P. 41 (c) is (check one or more):
                  ri
                   evidence of a crime;
                0 contraband, fruits of crime, or other items illegally possessed;
                0 property designed for use, intended for use, or used in committing a crime;
                0 a person to be arrested or a person who is unlawfully restrained.
          The search is related to a violation of:
              Code Section                                              Offense Description
        18 U.S. C.§§ 2252A(g); 2251(d) Engaging in a Child Exploitation 'Enterprise, Advertising and Conspiracy to
        (1) and/or (e); 2252A(a)(2)(A)    Advertise Child Pornography; Receipt and Distribution of, and Conspiracy to
        and ~b)(1 ); 2252A(a)(5)(B) and Receive and Distribute Child Pornography; Knowing Access or Attempted Access
        (b)(2                             With intent to View Child Pornography                 ·
           T e application is based on these facts:
        See attached affidavit.

           lYf Continued on the attached sheet.
           !if Delayed notice of~ days (give exact ending date if more than 30 days: ______ ) Is requested
                under 18 U.S.C. § 31 03a, the basis of which is set forth on the attached sheet.

Reviewed by AUSA/SAUSA:
                                                                                                   Applicant· signature
  AUSA Whitney Dougherty Russell
                                                                                          Douglas Macfarlane, Special Agent, FBI
                                                                                                   Printed na"/§fnd title

Sworn to before me and signed in my presence.                                               Theresa Carroll Buchanan
                                                                                            Unite~ States Magistrate Judge
Date:            02/20/2015
                                                                                                     Judge 's signature

City and state: Alexandria, Virginia                                        Honorable Theresa Carroll Buchanan, U.S. Magistrate Judge
                                                                                                   Printed name and title
                  Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 2 of 39




 AO 93 (Rev. 12/09) Search and Seizure Warrant



                                        UNITED STATES DISTRICT COURT
                                                                     for the
                                                         Baste'm District of Virginia

                In the Matter of the Search of                             )
            (Briefly de$crlbe the property to be searched                  )
             or ide/1/i.fY the person by name and address)                 )           Case No. 1:15-SW-89
              OF COMPUTERS THAT ACCESS                                     )
                     upf45jv3bzluctml.onion                                )                   UNDER SEAL
                                                                           )

                                                 SEARCH AND SEIZURE WARRANT
To:       Any authorized law enforcement officer
         An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the         Eastern           District of            Virginia
(identify the person or describe the properly to be searched and give Its location):
See Attachment A


          The person or property to be searched, described above, is believed to conceal (identifY the person or describe the
properly to be seized):
See Attachment 8


          I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
property.
          YOU ARE COMMANDED to execu_!0hls warrant on or before                                                   March 6, 2015
    .uf                                                ~~                                                        (not to exceed 14 days)
· ~ in the daytime 6:00 a.m. to 10 p.m.                      · at any time in the day or night as I find reasonable cause has been
                                                                stablished.
         Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.
        The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
          Honorable Theresa Carroll Buchanan
                               (name)

     ~ I find that immediate notification may have an adverse result listed in 18 U.S.C, § 2705 (except for delay
oftrial), and authorize the officer executing this warrant to delay notice to the person who;· or whos·e property, will be
searched or seized (check the appropriate box) l!ffor   30 days (not to exceed 30).


                       2/20/2015 '.l1)-
Date and time issued: ~--~----~~~- ,             1l.                           !1-~
                                                                               f:#:-
                                                                                         =
                                               Ountil, the facts justifying, the later specifi{ jate of _


                                                                                         mtel0
                                                                                                             8
                                                                                               sa Carroll Buchanan
                                                                                                 St_Jy_kJ:Ple Judge .
                                                                                                                          I   "'l
                                                                                                                                         . )
                                                                                                                                    ' ,~T'
                                                                                                                                                .   .
                                                                                                                                               y •'It 'f'
                                                                                                                                                                        '
                                                                                                                                                            '\ ,....... , ;
City and state:       Alexandria, Virginia
                                                                                                           r \
                                                                       Honorable Theresa Carroll Buchanan0/¥.S. Magistrater J~.....:.._ ·
                                                                                                  Printed name and
                                                                                                        .. \\.1:1,~
                                                                                                                       \Jif                                         "
      Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 3 of 39




                                        ATTACHMENT A

                                       Place to be Searched

        This warrant authorizes the use of a network investigative technique ("NIT") to be deployed

on the computer server described below, obtaining information described in Attachment B from the

activating computers described below.

        The computer server is the server operating the Tor network child pornography website

referred to herein as the TARGET WEBSITE, as identified by its URL -upf45jv3bziuctml.onion -

which will be located at a government facility in the Eastern District of Virginia.

        The activating computers are those of any user or administrator who logs into the TARGET

WEBSITE by entering a username and password. The government: will not employ this network

investigative technique after 30 days after this warrant is authorized, without further authorization.
             Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 4 of 39




                                              ATTACHMENT B

                                           lnfonnation to be Seized

        From any "activating'' computer described in Attachment A:

        1.        the "activating" computer's actual IP addressl and the date and time that the NIT determines

              what that IP address is;

        2.        a unique identifier generated by the NIT (e.g., a series of numbers, letters, and/or special

              characters) to distinguish data from that of other "activating" computers, that will be sent with

              and coilected by the NIT;

       3.        the type of operating system running on the computer, including type (e.g., Windows),

              version (e.g., Windows 7), and architecture (e.g., x 86);

       4.        information about whether the NIT has already been delivered to the "activating" computer;

       5.        the "activating" computer's Host Name;

       6.        the "activating" computer's active operating system usemame; and

       7.        the "activating" computer's media access control ("MAC") address;

that is evidence of violations of 18 U.S.C. § 2252A(g), Engaging in a Child Exploitation Enterprise; 18

U.S. C.§§ 225l(d)(l) and or (e), Advertising and Conspiracy to Advertise Child Pornography; 18 U.S.C. §§

2252A(a)(2)(A) and (b)(l), Receipt and Distribution of, and Conspiracy to Receive and Distribute Child

Pornography; and/or 18 U.S.C. § 2252A(a)(5)(B) and (b)(2), Knowing Access or Attempted Access With

Intent to View Child Pornography.




                                                    2
     Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 5 of 39




                        IN THE UNITED STATES DISTRICT CO                          ~      fi    '-;"-~

                                                                          I~·':-:__U:. _~. :~i ~·;·
                                                                                                      1

                       FOR THE EASTERN DISTRICT OF VIRG                                               :'

                                                                               'n.;a 2        ?m-~:
                                                                                              .,fv
                                                                                                    /'0
                                                                         :~;, CL~ ~~COURT
                                        Alexandria Division
                                                                              1   (ANDRIA, VIRGINIA

 IN THE MATTER OF THE SEARCH                     )    FILED UNDER SEAL
 OF COMPUTERS THAT ACCESS                        )
 upf45jv3 bziuctml.onion                         )    Case No. 1:15~SWw89


        AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT

        I, Douglas Macfarlane, being first duly sworn, hereby depose and state:

                                        INTRODUCTION

        I.     I have been employed as a Special Agent ("SA'') with the Federal Bureau of

Investigation ("FBI") since April, 1996, and I am currently assigned to the FBI's Violent Crimes

Against Children Section, Major Case Coordination Unit ("MCCU''). I currently investigate federal

violations concerning child pornography and the sexual exploitation of children and have gained

experience through training in seminars, classes, and everyday work related to these types of

investigations. I have participated in the execution of numerous warrants involving the search and

seizure of computers, computer equipment, software, and electronically stored information, in

conjunction with criminal investigations pertaining to child pornography the sexual exploitation of

children. I have received training in the area of child pornography and child exploitation, and have

had the opportunity to observe and review numerous examples of child pornography (as defined in

18 U.S.C. § 2256) in all forms of media including computer media. I am an ''investigative or law

enforcement officer" of the United States within the meaning of Section 251 0(7) ofTitle 18, United

States Code, and am empowered by law to conduct investigations of, and to make arrests for,

offenses enumerated in Section 2516 of Title 18, United States Code.
        Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 6 of 39




          2.       I make this affidavit in support of an application for a search warrant to use a network

 investigative technique ("NIT") to investigate the users and administrators of the website

upf45jv3bziuctml.onion (hereinafter '~TARGET WEBSITE") as further described in this affidavit

and its attachments. 1

          3.       The statements contained in thls affidavit are based in part on: information provided

by FBI Special Agents; written reports about thls and other investigations that I have received,

directly or indirectly, from other law enforcement agents, including foreign law enforcement

agencies as described below; information gathered from the service of subpoenas; the results of

physical and electronic surveillance conducted by federal agents; independent investigation and

analysis by FBI agents/analysts and computer forensic professionals; my experience, training and

background as a Special Agent with the FBI, and communication with computer forensic

professionals assisting with the design and implementation of the NIT. This affidavit includes only

those facts that I believe are necessary to establish probable cause and does not include all of the

facts uncovered during the investigation.

                                           RELEVANT STATUTES
         4.        This investigation concerns alleged violations of: 18 U.S.C. § 2252A(g), Engaging in

a Child Exploitation Enterprise; 18 U.S.C. §§ 225l(d)(l) and (e), Advertising and Conspiracy to

Advertise Child Pornography; 18 U.S.C. §§ 2252A(a)(2)(A) and (b)(l), Receiving and

Distributing/Conspiracy to Receive and Distribute Child Pornography; and 18 U.S.C. §


1
  The common name of the TARGET WEBSITE is known to law enforcement. The site remains active and
disclosure of the name of the site would potentially alert users to the fact that law enforcement action is being taken
against the site, potentially provoking users to notifY other users of law enforcement action, flee, and/or destroy
evidence. Accordingly, for purposes of the confidentiality and integrity of the ongoing investigation involved in this
matter, specific names and other identifYing factors have been replaced with generic terms.

                                                           2
     Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 7 of 39




2252A(a)(5)(B) and (b )(2), Knowing Possession, Access or Attempted Access With Intent to View

Child Pornography.

              a.       18 U.S.C. § 2252A(g) prohibits a person from engaging in a child

                   exploitation enterprise. A person engages in a child exploitation enterprise if the

                   person violates, inter alia, federal child pornography crimes listed in Title 18,

                   Chapter 110, as part of a series of felony violations constituting three or more

                   separate incidents and involving more than one victim, and commits those

                   offenses in concert with three or more other persons;

              b.       18 U.S.C. §§ 2251(d)(l) and (e) prohibits a person from knowingly making,

                   printing or publishing, or causing to be made, printed or published, or conspiring

                   to make, print or publish, any notice or advertisement seeking or offering: (A) to

                   receive, exchange, buy, produce, display, distribute, or reproduce, any visual

                   depiction, ifthe production of such visual depiction involves the use of a minor

                   engaging in sexually explicit conduct and such visual depiction is of such

                   conduct, or (B) participation in any act of sexually explicit conduct by or with

                   any minor for the purpose of producing a visual depiction of such conduct;

              c.       18 U.S.C. §§ 2252A(a)(2) and (b)(l) prohibits a person from knowingly

                   receiving or distributing, or conspiring to receive or distribute, any child

                   pornography or any material that contains child pornography, as defined in 18

                   U.S.C. § 2256(8), that has been mailed, or using any means or facility of

                   interstate or foreign commerce shipped or transported in or affecting interstate or

                   foreign commerce by any means, including by computer; and


                                                  3
Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 8 of 39




         d.       18 U.S.C. §§ 2252A(a)(5)(B) and (b)(2) prohibits a person from knowingly

              possessing or knowingly accessing with intent to view, or attempting to do so,

              any material that contains an image of child pornography, as defined in 18 U.S.C.

              § 2256(8), that has been mailed, or shipped or transported using any means or

              facility of interstate or foreign commerce or in or affecting interstate or foteign

              commerce by any means, including by computer, or that was produced using

              materials that have been mailed or shipped or transported in or affecting interstate

              or foreign commerce by any means, including by computer.

      DEFINITIONS OF TECHNICAL TERMS USED IN THIS AFFIDAVIT

 5.      The following definitions apply to this Affidavit:

         a.       "Bulletin Board" means an Intemet~based website that is either secured

              (accessible with a password) or unsecured, and provides members with the ability

              to view postings by other members and make postings themselves. Postings can

              contain text messages, still images, video images, or web addresses that direct

              other members to specific content the poster wishes. Bulletin boards are also

              referred to as "internet forums" or "message boards." A "post" or "posting" is a

              single message posted by a user. Users of a bulletin board may post messages in

              reply to a post. A message "thread," often labeled a 1'topic," refers to a linked

              series of posts and reply messages. Message threads or topics often contain a

              title, which is generally selected by the user who posted the first message of the

              thread.   Bulletin boards often also provide the ability for members to

              communicate on a one~to-one basis through "private messages."                Private


                                             4
Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 9 of 39




            messages are similar to e~mail messages that are sent between two members of a

            bulletin board. They are accessible only by tht' user who sent/received such a

            message, or by the bulletin board administrator.

       b.       "Child erotica," as used herein, means any material relating to minors that

            serves a sexual purpose for a given individual, including fantasy writings, letters,

            diaries, books, sexual aids, souvenirs, toys, costumes, drawings, and images or

            videos of minors that are not sexually explicit.

       c.       "Child Pornography," as used herein, is defined in I 8 U.S. C.§ 2256(8) as any

            visual depiction of sexually explicit conduct where (a) the production of the

            visual depiction involved the use of a minor engaged in sexually explicit conduct,

            (b) the visual depiction is a digital image, computer image, or computer~

            generated image that is, or is indistinguishable fi·om, that of a minor engaged in

            sexually explicit conduct, or (c) the visual depiction has been created, adapted, or

            modified to appear that an identifiable minor is engaged in sexually explicit

            conduct.

      d.       "Computer," as used herein, is defined pursuant to 18 U.S.C. § 1030(e)(l) as

            "an electronic, magnetic, optical, electrochemical, or other high speed data

            processing device performing logical or storage functions, and includes any data

            storage facility or communications facility directly related to or operating in

            conjunction with such device."

      e.       "Computer Server" or "Server," as used herein, is a computer that is attached

            to a dedicated network and serves many users. A "web server," for example, is a


                                           5
Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 10 of 39




             computer which hosts the data associated with a website. That web server

             receives requests from a user and delivers information from the server to the

             user's computer via the Internet. A domain name system ("DNS") server, in

             essence, is a computer on the Internet that routes communications when a user

             types a domain name, such as www.cnn.com, into his or her web browser.

             Essentially, the domain name must be translated into an Internet Protocol ("IP")

             address so the computer hosting the web site may be located, and the DNS server

             provides this function.

        f.       "Computer hardware," as used herein, consists of all equipment which can

             receive, capture, collect, analyze, create, display, convert, store, conceal, or

             transmit electronic, magnetic, or similar computer impulses or data. Computer

             hardware includes any data-processing devices (including, but not limited to,

             central processing units, internal and peripheral storage devices such as fixed

             disks, external hard drives, floppy disk drives and diskettes, and other memory

             storage devices); peripheral input/output devices (including, but not limited to,

             keyboards, printers, video display monitors, and related communications devices

             such as cables and connections), as well as any devices, mechanisms, or parts that

             can be used to restrict access to computer hardware (including, but not limited to,

             physical keys and locks).

       g.       "Computer software," as used herein, is digital information which can be

             interpreted by a computer and any of its related components to direct the way

             they work. Computer software is stored in electronic, magnetic, or other digital


                                           6
Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 11 of 39




             form. It commonly includes programs to run operating systems, applications, and

             utilities.

        h.       "Computer-related documentation," as used herein, consists of written,

             recorded, printed, or electronically stored material which explains or i!Iustrates

             how to configure or use computer hardware, computer software, or other related

             items.

       i.        "Computer passwords, pass-phrases and data security devices," as used

             herein, consist of information or items designed to restrict access to or hide

             computer software, documentation, or data. Data security devices may consist of

             hardware, software, or other programming code. A password or pass-phrase (a

             string of alpha-numeric characters) usually operates as a sort of digital key to

             "unlock" particular data security devices. Data security hardware may include

             encryption devices, chips, and circuit boards. Data security software of digital

             code may include programming code that creates "test" keys or "hot" keys, which

             perform certain pre-set security functions when touched. Data security software

             or code may also encrypt, compress, hide, or "booby-trap" protected data to make

             it inaccessible or unusable, as well as reverse the progress to restore it.

       j.        '~Hyper! ink" refers to an item on a web page which, when selected, transfers


             the user directly to another location in a hypertext document or to some other web

             page.

       k.       The "Internet" is a global network of computers and other electronic devices

             that communicate with each other.         Due to the structure of the Internet,


                                            7
Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 12 of 39




            connections between devices on the Internet often cross state and international

            borders, even when the devices communicating with each other are in the same

            state.

       1.       "Internet Service Providers" ("ISPs"), as used herein, are commercial

            organizations that are in business to provide individuals and businesses access to

            the Internet. ISPs provide a range of functions for their customers including

            access to the Internet, web hosting, e-mail, remote storage, and co-location of

            computers and other communications equipment. ISPs can offer a range of

            options in providing access to the Internet including telephone based dial-up,

            broadband based access via digital subscriber line ("DSL") or cable television,

            dedicated circuits, or satellite based subscription. ISPs typically charge a fee

            based upon the type of connection and volume of data, called bandwidth, which

            the connection supports. Many ISPs assign each subscriber an account name- a

            user name or screen name, an "e-mail address/' an e-mail mailbox, and a personal

            password selected by the subscriber. By using a computer equipped with a

            modem, the subscriber can establish communication with an ISP over a telephone

            line, through a cable system or via satellite, and can access the Internet by using

            his or her account name and personal password.

       m.       "Internet Protocol address" or "IP address" refers to a unique number used by

            a computer to access the Internet. IP addresses can be "dynamic," meaning that

            the Internet Service Provider ("ISP") assigns a different unique number to a

            computer every time it accesses the Internet. IP addresses might also be "static,"


                                          8
Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 13 of 39




            if an ISP assigns a user's computer a particular IP address which is used each

            time the computer accesses the Internet. IP addresses are also used by computer

            servers, including web servers, to communicate with other computers.

       n.       "Minor" means any person under the age of eighteen years. See 18 U.S.C. §

            ,2256(1).

       o.       The terms "records," "documents," and "materials," as used herein, include

            all information recorded in any form, visual or aural, and by any means, whether

            in handmade form (including, but not limited to, writings, drawings, painting),

            photographic form (including, but not limited to, microfilm, microfiche, prints,

            slides, negatives, videotapes, motion pictures, photocopies), mechanical form

            (including, but not limited to, phonograph records, printing, typing) or electrical,

            electronic or magnetic form (including, but not limited to, tape recordings,

            cassettes, compact discs, electronic or magnetic storage devices such as floppy

            diskettes, hard disks, CO-ROMs, digital video disks ("DVDs"), Personal Digital

            Assistants ("PDAs"), Multi Media Cards ("MMCs"), memory sticks, optical

            disks, printer buffers, smart cards, memory calculators, electronic dialers,

            Bernoulli drives, or electronic notebooks, as well as digital data files and

            printouts or readouts from any magnetic, electrical or electronic storage device).

       p.       "Sexually explicit conduct" means actual or simulated (a) sexual intercourse,

            including genital-genital, oral-genital, anal-genital or oral-anal, whether between

            persons of the same or opposite sex; (b) bestiality; (c) masturbation; (d) sadistic

            or masochistic abuse; or (e) lascivious exhibition of the genitals or pubic area of


                                           9
     Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 14 of 39




                     any person. See 18 U.S. C. § 2256(2).

                q.      "Visual depictions" include undeveloped film and videotape, and data stored

                     on computer disk or by electronic means, which is capable of conversion into a

                     visual image. See 18 U.S.C. § 2256(5).

               r.       "Website" consists of textual pages of infonnation and associated graphic

                     images. The textual information is. stored in a specific format known as Hyper-

                     Text Mark-up Language ("HTML") and is transmitted from web servers to

                     various web clients via Hyper-Text Transport Protocol ("HTTP").

                                       PROBABLE CAUSE

        6.     The targets of the investigative technique described herein are the administrators and

users ofthe TARGET WEBSITE- upf45jv3bziuctml.onion- which operates as a "hidden service"

located on the Tor network, as further described below. The TARGET WEBSITE is dedicated to the

advertisement and distribution of child pornography, the discussion of matters pertinent to child

sexual abuse, including methods and tactics offenders use to abuse children, as well as methods and

tactics offenders use to avoid law enforcement detection while perpetrating online child sexual

exploitation crimes such as those described in paragraph 4 ofthis affldavit. The administrators and

users of the TARGET WEBSITE regularly send and receive illegal child pornography via the

website.

                                          The Tor Network

       7.      The TARGET WEBSITE operates on an anonymity network available to Internet

users known as "The Onion Router" or "Tor" network. Tor was originally designed, implemented,

and deployed as a project of the U.S. Naval Research Laboratory for the primary purpos·e of


                                                 10
      Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 15 of 39




 protecting govenunent communications. It is now available to the public at large. Information

 documenting what Tor is and how it works is provided on the publicly accessible Tor website at

 www.torproject.org. In order to access the Tor network, a user must install Tor software either by

 downloading an add~on to the user's web browser or by downloading the free "Tor browser bundle"

 available at www.torproject.org. 2

          8.       The Tor software protects users' privacy online by bouncing their communications

around a distributed network of relay computers run by volunteers all around the world, thereby

masking the user's actual IP address which could otherwise be used to identify a user. It prevents

someone attempting to monitor an Internet connection from learning what sites a user visits, prevents

the sites the user visits from learning the user's physical location, and it lets the user access sites

which could.otherwise be blocked. Because of the way Tor routes communications through other

computers, traditional IP identification techniques are not viable. When a user on the Tor network

accesses a website, for example, the IP address of a Tor "exit node," rather than the user's actual IP

address, shows up in the website's IP log. An exit node is the last computer through which a user's

communications were routed. There is no practical way to trace the user's actual IP back through

that Tor exit node IP. In that way, using the Tor network operates similarly to a proxy server- that

is, a computer through which communications are routed to obscure a user's true location.

         9.       Tor also makes it possible for users to hide their locations while offering various

kinds of services, such as web publishing, forum/website hosting, or an instant messaging server.

Within the Tor network itself, entire websites can be set up as "hidden services." "Hidden services,"


2 Usl')rs may also access the Tor network through so-called "gateways" on the open Internet such as "onion. to" and
"tor2web.org," however, use of those gateways does not provide users with the anonymizing benefits of the Tor
network.

                                                         11
     Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 16 of 39




 like other websites, are hosted on computer servers that communicate through IP addresses and

operate the same as regular public websites with one critical exception. The IP address for the web

server is hidden and instead is replaced with a Tor~ based web address, which is a series of algorithm-

generated characters, such as "asdlk8fs9dflku7f' followed by the suffix ".onion." A user can only

reach these "hidden services" if the user is using the Tor client and operating in the Tor network.

And unlike an open Internet website, is not possible to determine through public lookups the IP

address of a computer hosting a Tor "hidden service." Neither law enforcement nor users can

therefore determine the location of the computer that hosts the website through those public lookups.

                          Finding and Accessing the TARGET WEBSITE

        10.     Because the TARGET WEBSITE is a Tor hidden service, it does not reside on the

traditional or "open" Internet. A user may only access the TARGET WEBSITE through the Tor

network. Even after connecting to the Tor network, however, a user must know the web address of

the website in order to access the site. Moreover, Tor hidden services are not indexed like websites

on the traditional Internet. Accordingly, unlike on the traditional Internet, a user may not simply

perform a Google search for the name of one of the websites on Tor to obtain and click on a link to

the site. A user might obtain the web address directly from communicating with other users of the

board, or from Internet postings describing the sort of content available on the website as well as the

website's location. For example, there is a Tor "hidden service" page that is dedicated to pedophilia

and child pornography. That "hidden service" contains a section with links to Tor hidden services

that contain child pornography. The TARGET WEBSITE is listed in that section. Accessing the

TARGET WEBSITE therefore requires numerous affirmative steps by the user, making it extremely

unlikely that any user could simply stumble upon the TARGET WEBSITE without understanding its


                                                  12
       Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 17 of 39




 purpose and content. In addition, upon arrival at the TARGET WEBSITE, the user sees images of

 prepubescent females partially clothed and whose legs are spread with instructions for joining the

 site before one can enter. Accordingly, there is probable cause to believe that, for the reasons

described below, any user who successfully accesses the TARGET WEBSITE has knowingly

accessed with intent to view child pornography, or attempted to do so.

                              Description of the TARGET WEBSITE and Its Content

          11.     Between September 16,2014 and February 3, 2015, FBI Special Agents operating

in the District of Maryland connected to the Internet via the Tor Browser and accessed the Tor

hidden service the TARGET WEBSITE at its then-current Uniform Resource Locator (''URL")

muff7i44irws3mwu.onion. 3 The TARGET WEBSITE appeared to be a message board website

whose primary purpose is the advertisement and distribution of child pornography. According to

statistics posted on the site, the TARGET WEBSITE contained a total of95,148 posts, 9,333

total topics, and 158,094 total members. The website appeared to have been operating since

approximately August 2014 which is when the first post was made on the message board.

         12.      On the main page of the site, located to either side of the site name were two

images depicting partially clothed prepubescent females with their legs spread apart, along with

the text underneath stating, "No cross-board reposts, .7z preferred, encrypt filenames, include

preview, Peace out." Based on my training and experience, I know that: "no cross-board reposts"

refers to a prohibition against material that is posted on other websites from being "re-posted" to



3 As of February 18, 2015, the URL ofthe TARGET WEBSITE had changed from muft7i44irws3mwu.onion to
upf45jv3bziuctml.onlon. I am aware from my training and experience that it is possible for a website to be moved
from one URL to another without altering its content or functionality. I am also aware from the instant investigation
that the administrator of the TARGET WEBSITE occasionally changes the location and URL of the TARGET
WEBSITE in an effort to , in part, avoid law enforcement detection. On February 18, 2015, I accessed the TARGET

                                                         13
       Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 18 of 39




 the TARGET WEBSITE; and ". 7z" refers to a preferred method of compressing large files or

sets of files for distribution. Two data-entry fields with a corresponding "Login'' button were

located to the right of the site name. Located below the aforementioned items was the message,

"Warning! Only registered members are allowed to access the section, Please login below or

'register an account' (a hyperlink to the registration page) with [TARGET WEBSITE name]."

Below this message was the "Login" section, consisting of four data-entry fields with the

corresponding text, "Usemame, Password, Minutes to stay logged in, and Always stay logged

in."

         13.     Upon accessing the "register an account" hyperlink, the following message was

displayed:

         "VERY IMPORTANT. READ ALL OF THIS PLEASE.
         I will add to this as needed.
         The software we use for this forum requires that new users enter an email address, and
         checks that what you enter looks approximately valid. We can't turn this off but the forum
         operators do NOT want you to enter a real address, just something that matches the
         xxx@yyy.zzz pattern. No confirmation email will be sent. This board has been intentionally
         configured so that it WILL NOT SEND EMAIL, EVER. Do not forget your password, you
         won't be able to recover it.
         After you register and login to this forum you will be able to fill out a detailed profile. For
         your security you should not post information here that can be used to identify you.
         Spam, flooding, advertisements, chain letters, pyramid schemes, and solicitations are
         forbidden on this forum.
         Note that it is impossible for the staff or the owners of this f01um to confirm the true identity
         of users or monitor in realtime all messages posted, and as such we are not responsible for
         the content posted by those users. You remain solely responsible for the content of your
         posted messages.



WEBSITE in an undercover capacity at its new URL, and determined that its content has not changed.

                                                      14
     Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 19 of 39




         The forum software places a cookie, a text file containing bits of information (such as your
         usemame and password), in your browser's cache. This is ONLY used to keep you logged
         in/out. This website is not able to see your IP and can not collect or send any other form of
         information to your computer except what you expressly upload. For your own security when
         browsing or Tor we also recomend that you turn off javascript and disable sending of the
         'referer' header."

         14.      After accepting the above terms, registration to the message boar~ then requires a

user to enter a usemame, password, and e-mail account; although a valid e-mail account was not

required as described above. After successfully registering and logging into the site, the

following sections, forums, and sub-forums, along with the corresponding number of topics and

posts in each, were observed:

         Section- Forum                       Topics                            Posts
         General Category
           [the TARGET WEBSITE] information and rules                           25                236
           How to                              133                              863
           Security & Technology discussion   281                               2,035
           Request                             650                              2,487
           General Discussion                  1,390                            13,918
           The INDEXES                         10                               119
           Trash Pen                           87                               1,273
         (the TARGET WEBSITE] Chan
            Jailbait 4 - Boy                                   58                154
            Jailbait- Girl                                     271               2,334
            Preteen - Boy                                      32                257
            Preteen - Girl                                     264               3,763

         Jailbait Videos
           Girls                                               643               8,282
           Boys                                                34                183

         Jailbait Photos
            Girls                                              339               2,590
           Boys                                                6                 39




4 Based on my training and experience, I know that 'jailbait" refers to underage but post-pubescent minors.



                                                         15
      Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 20 of 39




          Pre-teen Videos
            Girls HC 5                                           1,427             20,992
            Girls SC!NN                                          514               5,635
            Boys HC                                              87                1,256
            Boys SC!NN                                           48                193
          Pre-teen Photos
            Girls HC                                             433               5,314
            Girls SC!NN                                          486               4,902
            Boys HC                                              38                330
            Boys SC!NN                                           31                135
          We beams
           Girls                                                 133               2,423
           Boys                                                  5                 12
          Potpourri
            Family [TARGET WEBSITE] - Incest                     76                1,718
            Toddlers                                             106               1,336
            Artwork                                              58                314
          Kinky Fetish
            Bondage                                              16                222
            Chubby                                               27                309
            Feet                                                 30                218
            Panties, nylons, spandex                             30                369
            Peeing                                               101               865
            Scat                                                17                 232
            Spanking                                            28                 251
            Vintage                                             84                 878
            Voyeur                                              37                 454
            Zoo                                                 25                 222
         Other Languages
           Italiano                                             34                 1,277
           Portugues                                            69                 905
           Deutsch                                              66                 570
           Espanol                                              168                1,614
           Nederlands                                           18                 264
           Pyccknn - Russian                                     8                 239


5
  Based on my training and experience, I know that the following abbreviations respectively mean: HC- hardcore,
i.e., depictions of penetrative sexually explicit conduct; SC- softcore, i.e., depictions of non-penetrative sexually
explicit conduct; NN- non-nude, i.e., depictions of subjects who are fully or partially clothed.

                                                          16
    Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 21 of 39




        Stories
          Fiction                                        99              505
          Non-fiction                                    122             675

        15.     An additional section and forum was also listed in which members could

exchange usernames on a Tor-network~based instant messaging service that I know, based upon

my training and experience, to be commonly used by subjects engaged in the online sexual

exploitation of children.

        16.     A review of the various topics within the above forums revealed each topic

contained a title, the author, the number of replies, the number of views, and the last post. The

last post section included the date and time of the post as well as the author. Upon accessing a

topic, the original post appeared at the top of the page, with any corresponding replies to the

original post included the post thread below it. Typical posts appeared to contain text, images,

thumbnail-sized previews of images, compressed files (such as Roshal Archive files, commonly

referred to as ".rar" files, which are used to store and distribute multiple files within a single file),

links to external sites, or replies to previous posts.

        17.     A review of the various topics within the "[the TARGET WEBSITE] information

and rules," ''How to," "General Discussion," and "Security & Technology discussion" forums

revealed the majority contained general information in regards to the site, instructions and rules

for how to post, and welcome messages between users.

        18.     A review of topics within the remaining forums revealed the majority contained

discussions, as well as numerous images that appeared to depict child pornography ("CP") and

child erotica of prepubescent females, males, and toddlers. Examples of these are as follows:

                On February 3, 2015, the user "Mr. Devi" posted a topic entitled "Buratino-06" in

                                                   17
     Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 22 of 39




                           11
                the forum Pre~teen - Videos - Girls HC" that contained numerous images
                depicting CP of a prepubescent or early pubescent female. One of these images
                depicted the female being orally penetrated by the penis of a naked male.

                On January 30, 2015, the user "MoDoM" posted a topic entitled "Sammy" in the
                forum "Pre~teen Photos- Girls HC'' that contained hundreds of images depicting
                CP of a prepubescent female. One ofthese images depicted the female being
                orally penetrated by the penis of a male.

                On September 16, 2014, the user "tutuOI" posted a topic entitled "9yo Niece-
                Horse.mpg" in the "Pre-teen Videos - Girls HC" forum that contained four images
                depicting CP of a prepubescent female and a hyper! ink to an external website that
                contained a video file depicting what appeared to be the same prepubescent
                female. Among other things, the video depicted the prepubescent female, who was
                naked from the waist down with her vagina and anus exposed, lying or sitting on
                top of a. naked adult male, whose penis was penetrating her anus.

        19.     A list of members, which was accessible after registering for an account, revealed

that approximately I 00 users made at least I 00 posts to one or more of the forums.

Approximately 31 of these users made at least 300 posts. Analysis of available historical data

seized from the TARGET WEBSITE, as described below, revealed that over 1,500 unique users

visited the website daily and over 11,000 unique users visited the website over the course of a

week.

        20.    A private message feature also appeared to be available on the site, after

registering, that allowed users to send other users private messages, referred to as "personal

messages or PMs," which are only accessible to the sender and recipient of the message. Review

of the site demonstrated that the site administrator made a posting on January 28, 2015, in

response to another user in which he stated, among other things, "Yes PMs should now be fixed.

As far as a limit, I have not deleted one yet and I have a few hundred there now .... "

        21,    Further review revealed numerous additional posts referencing private messages



                                                  18
        Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 23 of 39




or PMs regarding topics related to child pornography, including one posted by a user stating,
1
    'Yes i can help if you are a teen boy and want to fuck your little sister. write me a private

message."

           22.     Based on my training and experience and the review of the site by law

enforcement agents, I believe that the private message function of the site is being used to

communicate regarding the dissemination of child pornography and to share information among

users that may assist in the identification ofthe users.

           23.     The TARGET WEBSITE also includes a feature referred to as "[the TARGET

WEBSITE] Image Hosting". This feature of the TARGET WEBSITE allows users of the

TARGET WEBSITE to upload links to images of child pornography that are accessible to all

registered users of the TARGET WEBSITE. On February 12, 2015, an FBI Agent accessed a

post on the TARGET WEBSITE titled "Giselita" which was created by the TARGET WEBSITE

user "Dark Ghost". The post contained links to images stored on "[the TARGET WEBSITE]

Image Hosting". The images depicted a prepubescent female in various states of undress. Some

images were focused on the nude genitals of a prepubescent female. Some images depicted an

adult male's penis partially penetrating the vagina of a prepubescent female.

          24.     The TARGET WEBSITE also includes a feature referred to as ''[the TARGET

WEBSITE] File Hosting". This feature ofthe TARGET WEBSITE allows users ofthe TARGET

WEBSITE to upload videos of child pornography that are in tum, only accessible to users of the

TARGET WEBSITE. On February 12,2015, an FBI Agent accessed a post on the TARGET

WEBSITE titled "Vicky Coughing Cum" which was created by the TARGET WEBSITE user

"clitflix". The post contained a link to a video file stored on "[the TARGET WEBSITE] File


                                                     19
     Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 24 of 39




Hosting". The video depicted an adult male masturbating and ejaculating into the mouth of a

nude1 prepubescent female.

        25.    The TARGET WEBSITE also includes a feature referred to as "[the TARGET

WEBSITE) Chat". On February 6, 2015, an FBI Special Agent operating in the District of

Maryland accessed "[the TARGET WEBSITE] Chat" which was hosted on the same URL as the

TARGET WEBSITE. The hyperlink to access "[the TARGET WEBSITE] Chat" was located on

the main index page ofthe TARGET WEBSITE. After logging in to [the TARGET WEBSITE]

Chat, over 50 users were observed to be logged in to the service. While logged in to [the

TARGET WEBSITE] Chat, the following observations were made:

               User "gabs'' posted a link to an image that depicted four females performing oral

               sex on each other. At least two of the females depicted were prepubescent.

               User "Rusty" posted a link to an image that depicted a prepubescent female with

               an amber colored object inserted into her vagina.

               User "owlmagic" posted a link to an image that depicted two prepubescent

               females laying on a bed with their legs in the air exposing their nude genitals.

       Other images that appeared to depict child pornography were also observed.

       26.     The images described above, as well as other images, were captured and are

maintained as evidence.

                           THE TARGET WEBSITE SUB-FORUMS

       27.     While the entirety ofthe TARGET WEBSITE is dedicated to child pornography,

the following sub-fomms ofthe TARGET WEBSITE were reviewed and determined to contain

the most egregious examples of child pornography and/or dedicated to retellings of real world


                                                20
    Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 25 of 39




hands on sexual abuse of children.

             •   Pre-teen Videos - Girls HC

             •   Pre-teen Videos - Boys HC

             •   Pre-teen Photos~ Girls HC

             •   Pre-teen Photos - Boys HC

             •   Potpourri - Toddlers

             •   Potpourri - Family Play Pen - Incest

             •   Spanking

             •   Kinky Fetish- Bondage

             •   Peeing

             •   Scat6

             •   Stories -Non-Fiction

             •   Zoo

             •   Webcams - Girls

             •   Webcams - Boys

      Identification and Seizure of the Computer Server Hosting the TARGET WEBSITE

       28.       In December of 2014, a foreign law enforcement agency advised the FBI that it

suspected IP address 192.198.81.106, which is a United States-based IP address, to be associated

with the TARGET WEBSITE. A publicly available website provided information that the IP Address

192.198.81.106 was owned by Centrilogic, a server hosting company headquartered at 801 Main

Street NW, Lenoir, NC 28645-3907. Through further investigation, FBI verified that the TARGET



                                                 21
      Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 26 of 39




 WEBSITE was hosted from the previously referenced IP address. A Search Warrant was obtained

 and executed at Centrilogic in January 2015 and a copy of the server (hereinafter the "TARGET

 SERVER") that was assigned IP Address 192.198.81.106 was seized. FBI Agents reviewed the

 contents of the Target Server and observed that it contained a copy of the TARGET WEBSITE. A

 copy of the TARGET SERVER containing the contents of the TARGET WEBSITE is currently

located on a computer server at a government facility in Newington, VA, in the Eastern District of

Virginia. Further investigation has identified a resident ofNaples, FL, as the suspected administrator

of the TARGET WEBSITE, who has administrative control ov'er the computer server in Lenoir, NC,

that hosts the TARGET WEBSITE.

         29.       While possession of the server data will provide important evidence concerning the

criminal activity that has occurred on the server and the TARGET WEBSITE, the identities of the

administrators and users of the TARGET WEBSITE would remain unknown without use of

additional investigative techniques. Sometimes, non~ Tor~ based websites have IP address Jogs that

can be used to locate and identify the board's users. In such cases, a publicly available lookup would

be perfonned to determine what ISP owned the target IP address, and a subpoena would be sent to

that ISP to determine the user to which the IP address was assigned at a given date and time.

However, in the case of the TARGET WEBSITE, the logs of member activity will contain only the

IP addresses of Tor "exit nodes" utilized by board users. Generally, those IP address logs cannot be

used to locate and identify the administrators and users of the TARGET WEBSITE. 7

         30.        Accordingly, on February 19,. 2015, FBI personnel executed a court-authorized


6 Based on my training and experience, "scat" refers to sexually explicit activity involving defecation and/or feces.
7
  Due to a misconfiguration ofthe TARGET WEBSITE that existed for an unknown period oftime, the true IP
Addresses ofa small number of users of the TARGET WEBSITE (that amounted to less than 1% of registered users

                                                         22
      Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 27 of 39




 search at the Napl.es, FL, residence of the suspected administrator of the TARGET WEBSITE. That

 individual was apprehended and the FBI has assumed administrative control of the TARGET

 WEBSITE. The TARGET WEBSITE will continue to operate from the government-controlled

 computer server in Newington, Virginia, on which a copy ofTARGET WEBSITE currently resides.

 These actions will take place for a limited period of time, not to exceed"30 days, in order to locate

 and identifY the administrators and users of TARGET WEBSITE through the deployment of the

network investigative technique described below. Such a tactic is necessary in order to locate and

apprehend the TARGET SUBJECTS who are engaging in the continuing sexual abuse and

exploitation of children, and to locate and rescue children from the imminent harm of ongoing abuse

and exploitation.

                        THE NETWORK INVESTIGATIVE TECHNIQUE

         31.      Based on my training and experience as a Special Agent, as well as the experience of

other law enforcement officers and computer forensic professionals involved in this investigation,

and based upon all of the facts set forth herein, to my knowledge a network investigative technique

("NIT") such as the one applied for herein consists of a presently available investigative technique

with a reasonable likelihood of securing the evidence necessary to prove beyond a reasonable doubt

the actual location and identity of those users and administrators of the TARGET WEBSITE

described in Attachment A who are engaging in the federal offenses enumerated in paragraph 4. Due

to the unique nature of the Tor. network and the method by which the network protects the anonymity

of its users by routing communications through multiple other computers or "nodes," as described

herein~ other investigative procedures that are usually employed in criminal investigations ofthis



of the TARGET WEBSITE) were captured in the log files stored on the Centrilogic server.

                                                      23
         Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 28 of 39




    type have been tried and have failed or reasonably appear to be unlikely to succeed if they are tried.

           32.     Based on my training, experience, and the investigation described above, I have

    concluded that using a NIT may help FBI agents locate the administrators and users of the TARGET

    WEBSITE. Accordingly, I request authority to use the NIT, which will be deployed on the TARGET

    WEBSITE, while the TARGET WEBSITE operates in the Eastern District ofVirginia, to investigate

any user or administrator who logs into the TARGET WEBSITE by entering a username and

password. 8

           33.     In the normal course of operation, websites send content to visitors. A user's

computer downloads that content and uses it to display web pages on the user's computer. Under the

NIT authorized by this warrant, the TARGET WEBSITE, which will be located in Newington,

Virginia, in the Eastern District of Virginia, would augment that content with additional computer

instructions. When a user's computer successfully downloads those instructions from the TARGET

WEBSITE, located in the Eastern District.ofVirginia, the instructions, which comprise the NIT, are

designed to cause the user's "activating" computer to transmit certain information to a computer

controlled by or known to the government. That information is described with particularity on the

warrant (in Attachment B of this affidavit), and the warrant authorizes obtaining no other

information. The NIT will not deny the user of the "activating" eomputer access to any data or

functionality of the user's computer.

           34.     The NIT will reveal to the government environmental variables and certain registry-


8
  Although this application and affidavit requests authority to deploy the NIT to investigate any user who Jogs in to
the TARGET WEBSITE with a usemame and password, in order to ensure technical feasibility and avoid detection
ofthe technique by suspects under investigation, in executing the requested warrant, the FBI may deploy the NIT
more discretely against particular users, such as those who have attained a higher status on Website I by engaging in
substantial posting activity, or in particular areas ofT ARGET WEBSITE, such as the TARGET WEBSITE sub-

                                                         24
     Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 29 of 39




 type information that may assist in identifying the user's computer, its location, and the user ofthe

 computer, as to which there is probable cause to believe is evidence of violations of the statutes cited

 in paragraph 4. In particular, the NIT will only reveal to the government the following items, which

 are also described in Attachment 13:

                  a.       The "activating" computer's actual IP address; and the date and time that the

                       NIT determines what that IP address is;

                  b.       A unique identifier generated by the NIT (e.g., a series of numbers, letters,

                       and/or special characters) to distinguish the data from that of other 1'activating"

                       computers. That unique identifier will be sent with and collected by the NIT;

                  c.       The type of operating system running on the computer, including type (e.g.,

                       Windows), version (e.g., Windows 7), and architecture (e.g., x 86);

                 d.        Information about whether the NIT has already been delivered to the

                       ~<activating" computer;


                 e.        The "activating" computer's ''Host Name." A Host Name is a name assigned

                       to a device connected to a computer network that is used to identify the device in

                       various forms of electronic conununication, such as communications over the

                       Internet;

                 f.        the "activating" computer's active operating system usemarne; and

                 g.        The "activating'' computer's Media Access Control ("MAC") address. The

                       equipment that connects a computer to a network is commonly referred to as a

                       network adapter. Most network adapters have a MAC address assigned by the


forums described in Paragraph 27.

                                                     25
     Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 30 of 39




                    manufacturer of the adapter that is designed to be a unique identifYing number. A

                    unique MAC address allows for proper routing of communications on a network.

                    Because the MAC address does not change and is intended' to be unique, a MAC

                    address can allow law enforcement to identifY whether communications sent or

                    received at different times are associated with the same adapter.

        35.     Each of these categories ofinformation described above, and in Attachment B, may

constitute evidence of the crimes under investigation, including information that may help to identify

the "activating" computer and its user. The actual IP address of a computer that accesses the

TARGET WEBSITE can be associated with an ISP and a particular ISP customer. The unique

identifier and information about whether the NIT has already been delivered to an "activating"

computer will distinguish the data from that of other ~'activating" computers. The type of operating

system running on the computer, the computer's Host Name, active operating system usemame, and

the computer's MAC address can help to distinguish the user's computer from other computers

located at a user's premises.

        36.     During the up to thirty day period that the NIT is deployed on the TARGET

WEBSITE, which will be located in the Eastern District of Virginia, each time that any user or

administrator logs into the TARGET WEBSITE by entering a username and' password, this

application requests authority for the NIT authorized by this warrant to attempt to cause the user's

computer to send the above-described information to a computer controlled by or known to the

government that is located in the Eastern District of Virginia.

       37.     In the normal course of the operation of a web site, a user sends "request data'' to the

web site in order to access that site. While the TARGET WEBSITE operates at a government


                                                 26
       Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 31 of 39




 facility, such request data associated with a user's actions on the TARGET WEBSITE will be

 collected. That data collection is not a function of the NIT. Such request data can be paired with

 data collected by the NIT, however, in order to· attempt to identify a particular user and to determine

that particular user's actions on the TARGET WEBSITE.

                               REQUEST FOR DELAYED NOTICE

         38.     Rule 41 (f)(3) allows for the delay of any notice required by the rule if authorized by

statute. 18 U.S.C. § 3103a(b)(l) and (3) allows for any notice to be delayed if"the Court finds

reasonable grounds to believe that providing immediate n<;>tification of the execution of the warrant

may have an adverse result (as defined in 18 U.S.C. § 2705) ... ,"or where the warrant "provides for

the giving of such notice within a reasonable period not to exceed 30 days after the date of its

execution, or on a later date certain if the facts of the case justify a longer period of delay." Because

there are legitimate law enforcement interests that justify the unannounced use of a NIT, I ask this

Court to authorize the proposed use of the NIT without the prior announcement of its use.

Announcing the use of the NIT could cause the users or administrators of the TARGET WEBSITE to

undertake other measures to conceal their identity, or abandon the use of the TARGET WEBSITE

completely, thereby defeating the purpose of the search.

        39.     The government submits that notice ofthe use of the NIT, as Qtherwise required by

Federal Rule of Criminal Procedure 41 (f), would risk destruction of, or tampering with, evidence,

such as files stored on the computers of individuals accessing the TARGET WEBSITE. It would,

therefore, seriously jeopardize the success of the investigation into this conspiracy and impede

efforts to learn the identity of the individuals that participate in this conspiracy, and collect evidence




                                                   27
      Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 32 of 39




 of, and property used in committing, the crimes (an adverse result under 18 U.S.C. §3103a(b)(l) and

 18 u.s.c. § 2705).

        40.    · Furthermore, the investigation has not yet identified an appropriate person to whom

such notice can be given. Thus, the government requests authorization, under 18 U.S.C. §31 03a, to

delay any notice otherwise required by Federal Rule of Criminal Procedure 41 (f), until 30 days after

any individual accessing the TARGET WEBSITE has been identified to a sufficient degree as to

provide notice, unless the Court finds good cause for further delayed disclosure.

        41.     The government further submits that, to the extent that use of the NIT can be

characterized as a seizure of an electronic communication or electronic information under 18 U.S.C.

§ 31 03a(b)(2), such a seizure is reasonably necessary, because without this seizure, there would be

no other way, to my knowledge, to view the information and to use' it to further the investigation.

Furthermore, the NIT does not deny the users or administrators access to the TARGET WEBSITE or

the possession or use of the information delivered to the computer controlled by or known to the

government, nor does the NIT permanently alter any software or programs on the user's computer.

                   TIMING OF SEIZURE/REVIEW OF INFORMATION

        42.    Rule 41 (e)(2) requires that the warrant command FBI ''to execute the warrant within a

specified period of time no longer than fourteen days" and to "execute the warrant during the

daytime, unless the judge for good cause expressly authorizes execution at another time." After the

server hosting the TARGET WEBSITE is seized, it will remain in law enforcement custody.

Accordingly, the government requests authority to employ the NIT onto the TARGET WEBSITE at

any time of day, within fourteen days of the Court's authorization. The NIT will be used on the

TARGET WEBSITE for not more than 30-days from the date of the issuance of the warrant.


                                                 28
    Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 33 of 39




       43.         For the reasons above and further, because users of the TARGET WEBSITE

communicate on the board at various hours of the day, including outside the time period between

6:00a.m. and 10:00 p.m., and because the timing of the user's communication on the board is solely

determined by when the user chooses to access the board, rather than by law enforcement, I request

authority for the NIT to be employed at any time a user's computer accesses the TARGET

WEBSITE, even if that occurs outside the hours of 6:00 a.m. and 10:00 p.m. Further, I seek

pennission to review infonnation transmitted to a computer controlled by or known to the

government, as a result of the NJT, at whatever time of day or night the information is received.

       44.         The government does not currently know the exact configuration of the computers

that may be used to access the TARGET WEBSITE. Variations in configuration, e.g., different

operating systems, may require the government to send more than one communication in order to get

the NIT to activate properly. Accordingly, I request that this Court authorize the government to

continue to send communications to the activating computers for up to 30 days after this warrant is

authorized.

       45.         The Government may, if necessary, seek further authorization from the Court to

employ the NIT on the TARGET WEBSITE beyond the 30~day period authorized by this warrant.

                             SEARCH AUTHORIZATION REQUESTS

       46.         Accordingly, it is respectfully requested that this Court issue a search warrant

authorizing the following:

              a.      the NIT may cause an activating computer- wherever located -to send to a

                      computer controlled by or known to the government, network level messages

                      containing information that may assist in identifying the computer, its location,


                                                   29
         Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 34 of 39




                          other information about the computer and the user ofthe computer, as described

                          above and in Attachment B;

                 b.       the use of multiple communications, without prior announcement, within 30 days

                          from the date this Court issues the requested warrant;

                 c.       that the government may receive and read, at any time of day or night, Within 30

                          days from the date the Court authorizes of use of the NIT, the information that

                          the NIT causes to be sent to the computer controlled by or known to the

                          government;

                 d.       that, pursuant to 18 U.S.C. § 31 03a(b )(3), to satisfy the notification requirement

                          of Rule 41 (f)(3) of the Federal Rules of Criminal Procedure, the government may

                          delay providing a copy of the search warrant and the receipt for any property

                          taken for thirty (30) days after a user of an "activating" computer that accessed

                          the TARGET WEBSITE has been identified to a sufficient degree as to provide

                          notice, unless notification is further delayed by court order.

                      REQ VEST FOR SEALING OF APPLICATION/AFFIDAVIT

           47.        I further request that this application and the related documents be filed under seal.

This information to be obtained is relevant to an ongoing investigation. Premature disclosures of this

application and related materials may jeopardize the success of the above-described investigation.

Further, this affidavit describes a law enforcement technique in sufficient detail that disclosure of

this technique could assist others in thwarting its use in the future. Acc~rdingly, I request that the

affidavit remain under seal until further order of the Court. 9

9
    The United States considers this technique to be covered by law enforcement privilege. Should the Court wish to

                                                          30
        Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 35 of 39




                                                         CONCLUSION

          48.      Based on the information identified above, information provided to me, and my

 experience and training, I have probable cause to believe there exists evidence, fruits, and

instnunentalities of criminal activity related to the sexual exploitation of children on computers that

access the TARGET WEBSITE, in violation of 18 U.S.C. §§ 2251 and 2252A.

          49.      Based on the information described above, there is probable cause to believe that the

information described in Attachment B constitutes evidence and instrumentalities of these crimes.

          50.      Based on the information described above, there is probable cause to believe that

employing a NIT on the TARGET WEBSITE, to collect information described in Attachment B, will

result in the FBI obtaining the evidence and instrumentalities of the child exploitation crimes

described above.

         Sworn to under the pains and penalties of perjury.


                                                           n2f.ltacfar~
                                                           Special Agent
                                        . ~· ' ·:   -.

Sworn to and subscribed before me
t · 0 day ofFebruary       Is!
            T resa Carroll Buchanan
                  ni ted States M a·
 ~~------~~~~~~~~~~ge
Honorable Theresa Carroll Buchanan
UNITED STATES MAGISTRATE JUDGE




issue any written opinion regarding any aspect of this request, the United States requests notice and an opportunity to
be heard with respect to the issue of law enforcement privilege.

                                                             31
       Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 36 of 39




                                        ATTACHMENT A

                                       Place to be Searched

        This warrant authorizes the use of a network investigative technique ("NIT") to be deployed

on the computer ser¥er described below, obtaining information described in Attachment B from the

activating computers described below.

        The computer server is the server operating the Tor network child pornography website

referred to herein as the TARGET WEBSITE, as identified by its URL ~upf45jv3bziuctml.onion ~

which will be located at a government facility in the Eastern District of Virginia.

        The activating computers are those of any user or administrator who logs into the TARGET

WEBSITE by entering a username and password. The government will not employ this network

investigative technique after 30 days after this warrant is authorized, without further authorization.




                                                  32
             Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 37 of 39




                                             ATTACHMENT B

                                          Information to be Seized

        From any "activating" computer described in Attachment A:

        1.       the "activating" computer's actual IP address, and the date and time that the NIT detennines

              what that IP address is;

        2.       a unique identifier generated by the NIT (e.g., a series of numbers, letters, and/or special

             characters) to distinguish data from that of other "activating" computers, that will be sent with

             and collected by the NIT;

       3.        the type of operating system running on the computer, including type (e.g., Windows),

             version (e.g., Windows 7), and architecture (e.g., x 86);

       4.        information about whether the NIT has already been delivered to the "activating" computer;

       5.        the "activating" computer's Host Name;

       6.        the "activating;' computer's active operating system usemame; and

       7.        the "activating" computer's media access control C'MAC") address;

that is evidence of violations of 18 U.S. C. § 2252A(g), Engaging in a Child Exploitation Enterprise; 18

U.S. C.§§ 225l(d)(l) and or (e), Advertising and Conspiracy to Advertise Child Pornography; 18 U.S.C. §§

2252A(a)(2)(A) and (b)(l), Receipt and Distribution of, and Conspiracy to Receive and Distribute Child

Pornography; and/or 18 U.S.C. § 2252A(a)(5)(B) and (b)(2), Knowing Access or Attempted Access With

Intent to View Child Pornography.




                                                  33
                 Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 38 of 39


AO 93 (Rev. 12/09) Search und Seizure Warrant



                                             UNITED STATES DISTRICT COURT
                                                                     for the
                                                          Eastem District of VIrginia

                In the Matter of the Search of                               )
           (/)rie/{y d.:sc1·ibl/ lh~ propmy to be seard1ed                   )
            or idemijjr the person by name and address)                      )          Case No. 1:15~SW-89
              OF COMPUTERS TriAT ACCESS                                      )
                      upf45)V3bzluctml.onion                                 )                                  UNDER SEAL
                                                                             )

                                                SEAH.CH AND SEIZURE WARRANT
To:        Any authorized lcnv enforcement officer

         An application by a federal law enforcement ot11cer or an anomey for the govemment requests the search
of the following person or property located in the ........ _, ..§~-~!~rD ....._..... District of
(identify tlut person or describe the property /o be searched and give ils locaiion):.
See Attachment A


           The person or property to be searched, described above, is believed to conceal (ldcm!(y the rm·son or dm·ribe 1he
property to be .w;iu;d):
See Attachment 8


         I t1nd that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
 property.

           YOU ARE COMMANDED to ~1ls warrant on or before.                                                                                                          March 6, 2015

    1/.    in the daytl me 6 00 a.m to I0 p.m. '
            ·
                                                              \~at any time in the day or~;=~~~==~::~.,~=~ -
                                                             ~~stablishect.
         Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
taken to the person from whorn, or from whose premises, the property was taken, or leave the copy and receipt at the
place where the property was taken.
         The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
 inventory as required by law and promptly return this warrant and inventory to United States Magistrate Judge
           Honorable Theresa Carroll Buchanan
-----·-----~c~-·--·--·------·--· ~-~•
                               (111.//IIC)

      C!f l find that immediate noti flcation may have an adverse res~l!t listed in 18 U.S.C. § 2705 (except for delay
of trial), and authorize the officer executing this warrant to delay notice to the person who,. or whr)fe property, will be
searched or seized (check rhc appropriat'' box) C!'ffor __...§_2_____ days (not w e.wmf 30;.                                                                       . .                     ·           ·

                                                         CJuntil, the facts justifying, the later specifiyjate of                                                                        ··-··-·····-··-·- -··--·--·-
                                                                                                       .
                                                                                           --· ....................... ---·-····· . ·····--   ----~-
                                                                                                                                                       ·' ~"" ,_   ~.~.   . ..........._.,..........   ~.   ____..,,

 Date and time issued: .. ?!_?Q/201~~L                                ............ /l   .... :l ''~~·~~~,~--~-~i~~~~~~-::.~""--L,."_____ ·-·..·-··---~
                                                                                 ~· ·· ··,'hfdfw·:s·siglialure ·· •· · "',

                                                                      ... .J:lQD.O r§Q!S't.I.~Sir~s a_.Q_<arr.9.1l!?.!d9h§JJ.QJ\'""- \l.,_§"·-M?gJ.stra t~U.Y.Q9.§._____
                                                                                                                           !'rimed mmw am/1irle
            Case 1:15-cr-10271-WGY Document 44-3 Filed 02/19/16 Page 39 of 39


AO 93 (Rev 12/09) Scarvh and Sm:urc Warrant (Page 2)

                                                               Return
Case No.:                     Date and time wan·ant executed:                 Copy of warrant and inventory left with:
1:i5~SW-89                   &e+Ldt"' '-!<.airs ~--.J >.iy;;r                     !V/4
Inventory made in the presence of:

Inventory of the property taken and name of any person(s) seized:

Ut<)·u        f~A1 CoMpLrtCr-J ttrt                       C((c_{);t   d 7 At?.tfn:r vf~5z.n:
~~..vef0                                               >('-! /!.J"




                                                             Ccrtifica tion


         I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant
to the designated judge.




~--------------~--·-------------------------------------------------------------~
